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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )        8:09CR198
                      Plaintiff,              )
                                              )
       vs.                                    )             ORDER
                                              )
ROBERTO GUTIERREZ-CISNERO,                    )
                                              )
                  Defendant.                  )

       At the initial appearance of the defendant on the charges contained in the indictment
on file, the United States moved to detain the defendant without bail pending trial on the
basis that he was a flight risk and a danger to the community. At the time of his initial
appearance before the court, the defendant was in the custody of Bureau of Prisons on
federal charges. Accordingly,
       IT IS ORDERED:
       The government's motion for detention of Roberto Gutierrez-Cisnero, pursuant to the
Bail Reform Act, is held in abeyance pending the defendant's release from Bureau of
Prisons.
       IT IS FURTHER ORDERED:
       The defendant, Roberto Gutierrez-Cisnero, received notice of his return to the
custody of the Bureau of Prisons pending the disposition of this matter. The U.S. Marshal is
authorized to return the defendant to the custody of Bureau of Prisons pending the final
disposition of this matter and the U.S. Marshal for the District of Nebraska is directed to
place a detainer with the correctional officer having custody of the defendant.
       DATED this 8th day of July, 2009.
                                                    BY THE COURT:


                                                    s/ F. A. Gossett
                                                    United States Magistrate Judge
